         Case 1:17-cv-01125-SS Document 19 Filed 04/02/19 Page 1 of 1
                           I                                           .
                                                                                          FILED
                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS                               APR -2         2019
                                    AUSTIN DIVISION                              CLERK,   U.s.   S    iC1 CLERK


UNITED STATES OF AMERICA,

                                  Plaintiff,

                V.                                     Civ. A.No. 1:17-cv-1125

BRIAN D. HANEY,
DAVID K. HANEY,
HANEY & HANEY, LLC,
VIDOR PHARMACY, LLC,
KEVIN M. GRAY, and
FAMILY PHARMACY, INC.,

                                  Defendants.

                                          DISMISSAL ORDER

        The Court, having noted that Plaintiff, the United States of America, and Defendants, Brian

D. Haney, David K. Haney, Haney & Haney, LLC, Vidor Pharmacy, LLC, Kevin M. Gray, and

Family Pharmacy, Inc., through their respective counsel, have filed an Amended Joint Motion to

Dismiss based on and subject to the terms of the Settlement Agreement executed by the parties to

this action, orders as follows:

        ORDERED that the Joint Motion to Dismiss is GRANTED.

        ORDERED that this action is DISMISSED based on and subject to the terms of the parties'

Settlement Agreement with an effective date of February 15, 2019.

        SIGNED this   ______dayof                        ,2019.




                                                    /24p
                                                HON. SAM SPARKS
                                                United States District Judge
